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17

18
                                 UNITED STATES DISTRICT COURT
19
                                       DISTRICT OF NEVADA
20

21   Cung Le, Nathan Quarry, Jon Fitch, Brandon       Case No.: 2:15-cv-01045-RFB-(PAL)
     Vera, Luis Javier Vazquez, and Kyle
22   Kingsbury on behalf of themselves and all
     others similarly situated,
23                                                    DECLARATION OF JOHN F. COVE, JR.
                   Plaintiffs,                        IN SUPPORT OF ZUFFA, LLC’S
24          v.                                        MOTION TO SEAL
25
     Zuffa, LLC, d/b/a Ultimate Fighting
26   Championship and UFC,

27                 Defendant.
28


                 Declaration of John F. Cove, Jr. in Support of Zuffa’s Motion To Seal
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 1           I, John F. Cove, Jr., declare as follows:

 2           1.      I am an attorney admitted to practice before the courts in the states of California

 3   and New York and am admitted Pro Hac Vice to practice before this Court. I am a Partner in the

 4   law firm Boies, Schiller & Flexner LLP, counsel to Defendant Zuffa, LLC (“Zuffa”) in this case.

 5           2.      I make this declaration in support of Zuffa’s Motion to Seal Exhibits to the Joint

 6   Status Report. Based on my review of the files and records in this case, I have firsthand

 7   knowledge of the contents of this declaration and could testify thereto.

 8           3.      Zuffa seeks to file under seal three exhibits identified as Exhibits G, H and I to the

 9   Joint Status Report. This declaration is submitted to provide the factual and legal support for the

10   filing of this material.

11           4.      Federal Rule of Civil Procedure 26(c) provides that the Court may “issue an order

12   to protect a party of person from annoyance, embarrassment, oppression or undue burden or

13   expense” by “requiring that a trade secret or other confidential research, development, or

14   commercial information not be revealed or be revealed only in a specific way.”

15           5.      Exhibit G contains specific financial terms and incentives offered during a

16   contract negotiation.

17           6.      Exhibit H contains specific financial terms and incentives discussed during a

18   contract negotiation.

19           7.      Exhibit I contains Zuffa’s confidential financial information and reflects Zuffa’s

20   internal business strategies and analyses.

21           8.      It is my understanding that Zuffa treats the financial terms and incentives offered

22   during contract negotiations as confidential. Zuffa also considers its internal decision-making

23   processes and business assessments confidential. Disclosure of this information could expose

24   Zuffa’s confidential financial information and approach to internal decision-making strategies and

25   negotiations and would provide competitors with an unfair insight into Zuffa’s business practices.

26           9.      Exhibits G and H have also been designated as confidential under the Protective

27   Order by the third party that produced them.

28
                                                       1
                   Declaration of John F. Cove, Jr. in Support of Zuffa’s Motion To Seal
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 1          I declare under penalty of perjury under the laws of the United States of America that the

 2   foregoing facts are true and correct. Executed this 19th day of February, 2016, in Oakland,

 3   California.

 4                                                       _/s/ John F. Cove, Jr.__________________
                                                         John F. Cove, Jr.
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                   Declaration of John F. Cove, Jr. in Support of Zuffa’s Motion To Seal
